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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ------------------------------------------------------x
   In re                                                   :               Chapter 11
                                                           :
                                           1
   Journal Register Company, et al.,                       :               Case No. 09-10769 (ALG)
                                                           :
                              Debtors.                     :               Jointly Administered
   ------------------------------------------------------x

                          ORDER EXTENDING THE DEBTORS’
                       EXCLUSIVE PERIODS TO FILE A PLAN OF
               REORGANIZATION AND TO SOLICIT ACCEPTANCES THERETO
                PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE

                     Upon the motion (the “Motion”) of the debtors and debtors in possession in the

   above-captioned cases (collectively, the “Debtors”), for an order extending their exclusive

   periods to file a plan of reorganization and to solicit acceptances thereto, pursuant to section

   1121(d) of the Bankruptcy Code; and notice of the Motion having been provided to the parties

   identified in the Motion; and no other or further notice being necessary or required; and it

   appearing to the Court, based upon the Motion, and the full record of these cases that the Motion

   should be granted; and after due deliberation, and sufficient cause appearing therefor, it is hereby

                     ORDERED, ADJUDGED, AND DECREED that:

                     1.       The Motion is granted to the extent set forth herein.


   1
            If applicable, the last four digits of the taxpayer identification numbers of the Debtors follow in
            parentheses: (i) Journal Register Company (8615); (ii) 21st Century Newspapers, Inc. (6233); (iii) Acme
            Newspapers, Inc. (6478); (iv) All Home Distribution Inc. (0624); (v) Chanry Communications, Ltd. (3704);
            (vi) Greater Detroit Newspaper Network, Inc. (4228); (vii) Great Lakes Media, Inc. (5920); (viii) Great
            Northern Publishing, Inc. (0800); (ix) The Goodson Holding Company (2437); (x) Heritage Network
            Incorporated (6777); (xi) Hometown Newspapers, Inc. (8550); (xii) Independent Newspapers, Inc. (2264);
            (xiii) JiUS, Inc. (3535); (xiv) Journal Company, Inc. (8220); (xv) Journal Register East, Inc. (8039); (xvi)
            Journal Register Supply, Inc. (6546); (xvii) JRC Media, Inc. (4264); (xviii) Middletown Acquisition Corp.
            (3035); (xix) Morning Star Publishing Company (2543); (xx) Northeast Publishing Company, Inc. (6544);
            (xxi) Orange Coast Publishing Co. (7866); (xxii) Pennysaver Home Distribution Corp. (9476); (xxiii)
            Register Company, Inc. (6548); (xxiv) Saginaw Area Newspapers, Inc. (8444); (xxv) St. Louis Sun
            Publishing Co. (1989); (xxvi); Up North Publications, Inc. (2784); and (xxvii) Voice Communications
            Corp. (0455). The Debtors’ executive headquarters’ address is 790 Township Line Road, Third Floor,
            Yardley, PA 19067.
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                  2.      Capitalized terms used herein shall have the meanings ascribed to them in

   the Motion.

                  3.      The Debtors’ Exclusive Filing Period shall be extended by approximately

   ninety (90) days through and including September 21, 2009.

                  4.      The Debtors’ Exclusive Solicitation Period shall be extended by sixty (60)

   ninety (90) days through and including December November18, 2009.

                  5.      The entry of this Order shall be without prejudice to the rights of the

   Debtors to request further extensions of the Exclusive Periods or to seek other appropriate relief.

                  6.      This Court shall retain jurisdiction with respect to all matters arising from

   or related to the implementation or interpretation of this Order.

   Dated: New York, New York
          June 18, 2009


                                               /s/ Allan L. Gropper        _
                                             THE HONORABLE ALLAN L. GROPPER
                                             UNITED STATES BANKRUPTCY JUDGE




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